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 2   DOUGHERTY & GUENTHER, APC
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 3   Salinas, CA 93901
 4   (831) 783-3440
 5   Attorneys for Debtor
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10                               UNITED STATES BANKRUPTCY COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                          SAN JOSE DIVISION
13
14   In re:                                                  Case No. 16-53536 HLB
15                                                           Chapter 13
              MARCOS U GONZALEZ,
16                                                           Hearing Information
                            Debtor.
17                                                           Date: October 3, 2018
                                                             Time: 11:30 a.m.
18                                                                 1000 S. Main Street, Room 214
                                                                   Salinas, CA 93901
19
                                                   /         Judge: Hon. Hannah L. Blumenstiel
20
21                DEBTOR’S OPPOSITION TO MOTION FOR RELIEF FROM STAY
22            Debtor opposes the Motion for Relief From Stay filed on behalf of US Bank Trust, N.A.
23   Debtor argues he is not behind thirteen months as indicated in the motion. Debtor requested bank
24   statements to show proof of payments made to US. Bank Trust, N.A.
25   Dated: October 2, 2018                              DOUGHERTY & GUENTHER, APC
26
27                                                       /s/ Ralph P. Guenther
                                                         RALPH P. GUENTHER
28                                                       Attorney for Debtor



Case: 16-53536      Doc# 33     Filed: 10/02/18    Entered:
                                                      1     10/02/18 09:33:41     Page 1 of 2
 1                                     CERTIFICATE OF SERVICE
                                          [B.R. 7005, F.R.C.P. 5]
 2
             I declare as follows: I am a citizen of the United States. I am employed in the County of
 3   Monterey, California. My business address is 601 S. Main Street, Salinas, CA 93901. I am over the
     age of 18 years and am not a party to the within entitled cause. I am familiar with the processing of
 4   correspondence for mailing with the United States Postal Service. Correspondence placed in the
     internal mail collection system at Dougherty & Guenther is deposited with the United States Postal
 5   Service that same day in the ordinary course of business.
 6          On October 2, 2018 a true and accurate photo-copy of the following documents:
 7                 DEBTOR’S OPPOSITION TO MOTION FOR RELIEF FROM STAY
 8   was placed for service, in Dougherty & Guenther’s internal mail collection system, in a sealed
     envelope to be delivered by mail with the United States Postal Service with postage prepaid, postage
 9   addressed as follows:
10
      Office of the U.S. Trustee/SJ                      Chapter 13 Trustee
11    U.S. Federal Building                              Devin Derham-Burk, Trustee
      280 S. 1st Street #268                             P.O. Box 50013
12    San Jose, CA 95113-3004                            San Jose, CA 95150
      Served Electronically Only                         Served Electronically Only
13
14          I declare under penalty of perjury under the laws of the United States of America that the

15   foregoing is true and correct and that this declaration was executed on October 2, 2018, at Salinas,

16   California.

17                                                /s/ Laura Galvan
                                                  Laura Galvan
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Case: 16-53536      Doc# 33     Filed: 10/02/18     Entered:
                                                       2     10/02/18 09:33:41      Page 2 of 2
